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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                   MIDLAND/ODESSA DIVISION

JESSIE DE LEON, individually and on                      §
behalf of all others similarly situated,                 §
                    Plaintiff,                           §
                                                         §
v.                                                       §
                                                         §
NORTHERN NATURAL GAS                                     §
COMPANY,                                                 §           MO:20-CV-00179-DC-RCG
            Defendant,                                   §
                                                         §
GAS GATHERING SPECIALIST,                                §
INC.,                                                    §
                                                         §
                      Intervenor-Defendant.              §

     ORDER DENYING PLAINTIFF’S MOTION FOR DISTRIBUTION OF NOTICE TO
                      POTENTIAL OPT-IN PLAINTIFFS
          BEFORE THE COURT is Plaintiff Jessie De Leon’s Motion to Certify Class for

 Conditional Certification and Court Authorized Notice.1 (Doc. 63). This case is before the

 undersigned through an Order pursuant to 28 U.S.C. § 636 and Appendix C of the Local Court

 Rules for the Assignment of Duties to United States Magistrate Judges. (Doc. 7). After due

 consideration of the record, the parties’ briefing, and applicable case law, the Court DENIES

 Plaintiff Jessie De Leon’s Motion for Distribution of Notice to Potential Opt-In Plaintiffs.

 (Doc. 63).



                                          I.        BACKGROUND

 1
   The Court notes that De Leon still seeks “conditional certification” despite the Fifth Circuit’s stating that “nothing
 in the FLSA, nor in Supreme Court precedent interpreting it, requires or recommends (or even authorizes) any
 ‘certification’ process.” (Docs. 44, 45); Swales, 985 F.3d at 440. Rather instead of conditionally certifying a
 collective action, “the district court’s job is ensuring that notice goes out to those who are ‘similarly situated,’ in a
 way that scrupulously avoids endorsing the merits of the case. A district court abuses its discretion, then, when the
 semantics of ‘certification’ trump the substance of ‘similarly situated.’” Swales, 985 F.3d at 440. Thus, the Court
 will employ language endorsed by the Fifth Circuit in Swales and construe Plaintiffs’ Motion as a “Motion for
 Distribution of Notice to Potential Opt-In Plaintiffs.”
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          Jessie De Leon (“De Leon”) filed this collective action on July 24, 2020 against Northern

Natural Gas Company (“Northern”) alleging that Northern paid him and others similarly situated

a day rate without overtime compensation in violation of the Fair Labor Standards Act

(“FLSA”). (Doc. 1). De Leon alleges that he worked for Northern as an inspector from

approximately July 2017–April 2018. Id. at 2. On September 29, 2020, De Leon filed a Motion

to Certify Class for Conditional Certification and Court-authorized Notice pursuant to the

Lusardi two-step approach. (Doc. 15). While Plaintiffs’ Motion for Conditional Certification and

Notice was pending before the Court, the Fifth Circuit’s decision in Swales v. KLLM Transport

Services rejected the Lusardi two-step approach, upon which both De Leon’s Motion and

Northern’s Responses were premised. (Docs. 15, 20, 23).

          As a result of the Fifth Circuit’s directive in Swales, the Court found it necessary to deny

De Leon’s Motion for Conditional Certification and Notice without prejudice, allowing De Leon

to refile his motion at the appropriate time. (Doc. 34). Pursuant to the Fifth Circuit’s mandate in

Swales, the Court held a hearing in the instant case on February 10, 2021, regarding “what facts

and legal considerations” are material to determining whether De Leon and the proposed class

are “similarly situated” as well as the “amount of discovery necessary to make that

determination.” (Doc. 35) (quoting Swales v. KLLM Transp. Servs., 985 F.3d 430, 441 (5th Cir.

2021)).

          Then, in compliance with the Fifth Circuit’s enunciation in Swales, on March 26, 2021,

the Court entered a Preliminary Discovery Control Plan wherein the Court authorized limited

discovery to facilitate a determination of whether there is a group of similarly situated workers

who are entitled to receive notice about the proposed collective action. (Doc. 42). Shortly




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thereafter, on April 12, 2021, the Court granted Gas Gathering Specialist, Inc.’s (“Gas

Gathering”) Motion to Intervene. (See Docs. 22, 43).

       The parties then conducted limited discovery pursuant to the Court’s Preliminary

Discovery Control Plan. Further, the Court entered an Amended Scheduling Order on May 24,

2021. (Doc. 46). Pursuant to the Amended Scheduling Order, the parties’ discovery deadline was

December 9, 2021; their dispositive motions deadline was February 11, 2022; their Final Pretrial

is set for July 7, 2022; and their jury selection/trial is set for August 1, 2022. Id. On June 18,

2021 the parties filed, and the Court granted, a Joint Motion for Extension of Time to Complete

Discovery—extending the Preliminary Discovery Control Plan through August 31, 2021.

(Doc. 47; Text Order dated June 28, 2021). Then on December 21, 2021, Avery Technical

Resources, Inc. filed its Motion to Intervene. (Doc. 56). This Court denied Avery’s Motion to

Intervene without prejudice based upon the fact that no Avery worker, former or current was opt-

ed into the lawsuit. (Doc. 62).

       Finally, that brings the Court to the current Motion. On May 6, 2022, De Leon filed the

instant Motion for Distribution of Notice to Potential Opt-In Plaintiffs. (Doc. 63). The Motion

was under a deficiency notice for a period of time, but said deficiency was cured on May 12,

2022. (See Doc 70; Text Order dated May 12, 2022). Thereafter, Northern and Gas Gathering

filed a joint Response in Opposition. (Doc. 71). Accordingly, this matter is ready for disposition.

                                  II.   LEGAL STANDARD

       An employee may bring an action for violations of the minimum wage and overtime

provisions of the FLSA either individually or as a collective action on behalf of himself and

“other employees similarly situated.” 29 U.S.C. § 216(b). Unlike a class action filed under

Federal Rule of Civil Procedure 23(c), a collective action under § 216(b) provides a procedure



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for plaintiffs to “opt-in,” i.e., affirmatively notify the court of their intention to become parties to

the collective action. Swales, 985 F.3d at 435 (citing Hoffmann-La Roche Inc. v. Sperling, 493

U.S. 165, 169 (1989)). However, the Fifth Circuit noted “nothing in the FLSA, nor in Supreme

Court precedent interpreting it, requires or recommends (or even authorizes) any ‘certification’

process.” Id. at 440. Instead, “the district court’s job is ensuring that notice goes out to those who

are ‘similarly situated,’ in a way that scrupulously avoids endorsing the merits of the case.” Id.

        Under Swales, “a district court should identify, at the outset of the case, what facts and

legal considerations will be material to determining whether a group of ‘employees’ is ‘similarly

situated.’ And then it should authorize preliminary discovery accordingly.” Id. at 441. When

deciding if the named plaintiff has met their burden of establishing similarity, a “district court

has broad, litigation-management discretion.” Id. at 443. That discretion is cabined by two

principles:

                (1) the FLSA’s text, specifically § 216(b), which declares (but does
                not define) that only those “similarly situated” may proceed as a
                collective; and (2) the Supreme Court’s admonition that while a
                district court may “facilitat[e] notice to potential plaintiffs” for
                case-management purposes, it cannot signal approval of the merits
                or otherwise stir up litigation.

Swales, 985 F.3d at 434 (quoting Hoffmann-La Roche, 493 U.S. at 169; In re JPMorgan Chase

& Co., 916 F.3d 494, 500–02 (5th Cir. 2019) (alteration in original)). Additionally, under Swales,

a district court may consider “whether merits questions can be answered collectively” without

endorsing the merits of the case because “addressing these issues from the outset aids the district

court in deciding whether notice is necessary.” Id. at 442.

                                     III.    DISCUSSION

        Here, the Court finds it unnecessary to examine the substance of De Leon’s Motion. As

Northern and Gas Gathering state in their Response, De Leon “waited until the expiration of the

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deadlines set by the Court and with 90 days before the August 1, 2022 trial date to renew his

request for certification of a collective action under the Fair Labor Standards Act.” (Doc. 71 at

1). Not only that, but De Leon did so without asking leave of court, nor does De Leon address

the reason for the last-minute nature of the filing. In its Preliminary Discovery Control Plan, the

Court explicitly delineated that: “The parties shall have ten (10) days after the close of

preliminary discovery to meet, confer, and submit either an agreed definition of similarly

situated; or if there is a disagreement as to what constitutes similarly situated, each party shall

submit their own definition for the Court to consider. The Court will then rule on the similarly

situated definition, if necessary.” (Doc. 42 at 2). After extension, the parties’ deadline for filing a

definition of similarly situated opt-in plaintiffs was September 10, 2021.

       De Leon clearly failed to meet this deadline, filing his motion eight months later. In his

Motion, De Leon states he has “persistently pursued his claims and that of the putative class.”

(Doc. 63 at 23). But fails to provide why he did not file his Motion for Notice earlier, in

compliance with the Court’s Preliminary Discovery Control Plan and Amended Scheduling

Order. The Court also notes De Leon did not ask the Court for an extension of time to file a

Motion for Distribution of Notice to Potential Opt-In Plaintiffs. As such, De Leon has not

established how he diligently pursued a collective action, nor has he established why good cause

exists for waiting until approximately two months before the Final Pretrial Conference to file the

instant motion. The Court agrees with Northern and Gas Gathering—De Leon’s Motion for

Distribution of Notice to Potential Opt-In Plaintiffs is DENIED.




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                                   IV.     CONCLUSION

       For the foregoing reasons, the Court DENIES De Leon’s Motion for Distribution of

Notice to Potential Opt-In Plaintiffs. (Doc. 63).

       It is so ORDERED.


       SIGNED this 26th day of May, 2022.




                                              RONALD C. GRIFFIN
                                              UNITED STATES MAGISTRATE JUDGE




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